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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS



 BITMANAGEMENT SOFTWARE GMBH,

                        Plaintiff,                   Case No. 16-840 C
                v.
                                                     Senior Judge Edward J. Damich
 THE UNITED STATES OF AMERICA,

                        Defendant.




     REPLY IN SUPPORT OF REQUEST TO PRESENT DIRECT TESTIMONY IN
                           WRITTEN FORM

       The Government has no serious basis for opposing Bitmanagement’s request to present

the direct testimony of two of its witnesses in written form. The Court’s Trial Preparation Order

stated that “the Court is committed to cost-effective methods of resolving and trying cases” and

invited the parties to “consider whether direct testimony submitted in written form may be

preferable.” Dkt. 40 § 3.e.

       Written, direct testimony of Peter Schickel and George Graff will be more cost-effective

than, and preferable to, live testimony. Mr. Schickel is not a native English speaker. If he

testifies live, Bitmanagement estimates that Mr. Schickel’s direct examination will last six hours

with a translator, while the Government has indicated its own examination of Mr. Schickel to

support its case-in-chief will last eight hours with a translator. As to Mr. Graff, he has already

written two extensive expert reports, and his testimony will address technical subjects that will

be more helpful to the Court in written form.




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       The Government will not be prejudiced by this request. To the extent the Government

asserts that live testimony is important, Mr. Schickel and Mr. Graff will testify live and in person

at the trial, for cross-examination and redirect examination.

       The Government’s opposition argues mightily that the Court’s rules demonstrate a

preference for trial testimony to be taken in “open court” (Opp. at 1), but that argument leads

into a cul-de-sac. Both witnesses will be testifying in open court, where the Government will be

free to examine them to its heart’s content. The Government also conspicuously fails to mention

that it requested—and the Court granted—permission for one of its own key trial witnesses,

Patrick Samuel Chambers, to testify outside of the courtroom, by videoconference from Los

Angeles. Dkt. 60, 72.

       Accordingly, Bitmanagement respectfully submits that the Court should grant its request

regarding direct testimony in written form.




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Dated: March 21, 2019       Respectfully Submitted,

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